           Case 2:23-ap-01426-DS Doc 12 Filed 11/24/23                                            Entered 11/24/23 21:24:02                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
Complete Industrial Repair, Inc,
       Plaintiff                                                                                                       Adv. Proc. No. 23-01426-DS
Torres,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Nov 22, 2023                                               Form ID: pdf031                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 24, 2023:
Recip ID                 Recipient Name and Address
pla                    + Complete Industrial Repair, Inc, 7403 Telegraph Road, Montebello, CA 90640-6515
dft                    + Toby Edward Torres, 14115 Elmbrook Avenue, La Mirada, CA 90638-3809

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 24, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 22, 2023 at the address(es) listed
below:
Name                               Email Address
Frank E Marchetti
                                   on behalf of Plaintiff Complete Industrial Repair Inc frank@marchettilaw.com, marchettilaw@gmail.com

Howard M Ehrenberg (TR)
                                   ehrenbergtrustee@gmlaw.com
                                   ca25@ecfcbis.com;C123@ecfcbis.com;howard.ehrenberg@ecf.courtdrive.com;Karen.Files@gmlaw.com

Richard G. Heston
                                   on behalf of Defendant Toby Edward Torres rheston@hestonlaw.com
                                   yflores@hestonlaw.com,docs@hestonlaw.com;HestonRR41032@notify.bestcase.com,handhecf@gmail.com

United States Trustee (LA)
                                   ustpregion16.la.ecf@usdoj.gov
       Case 2:23-ap-01426-DS Doc 12 Filed 11/24/23         Entered 11/24/23 21:24:02    Desc
                           Imaged Certificate of Notice    Page 2 of 4
District/off: 0973-2                     User: admin                                    Page 2 of 2
Date Rcvd: Nov 22, 2023                  Form ID: pdf031                               Total Noticed: 2
TOTAL: 4
Case 2:23-ap-01426-DS Doc 12 Filed 11/24/23                         Entered 11/24/23 21:24:02              Desc
                    Imaged Certificate of Notice                    Page 3 of 4


   1   Frank E. Marchetti (SBN 203185)
       MARCHETTI LAW
   2   3731 Wilshire Boulevard, Suite 635                              FILED & ENTERED
       Los Angeles, CA 90010
   3   Telephone: (626) 676-6377
       Email: frank@marchettilaw.com                                           NOV 22 2023
   4
       Attorneys for Creditor Complete Industrial Repair, Inc.            CLERK U.S. BANKRUPTCY COURT
   5                                                                      Central District of California
                                                                          BY bakchell DEPUTY CLERK

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   8                               UNITED STATE BANKRUPTCY COURT

   9                  CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

  10         In re:                                           Case No. 2:23-bk-13864-DS

  11         TOBY EDWARD TORRES,                              Chapter 7
  12                                      Debtor.             Adv. No. 2:23-ap-01426-DS
  13
             COMPLETE INDUSTRIAL REPAIR, INC.,
                                                              ORDER DENYING MOTION FOR
  14
                                          Plaintiff,          ORDER DISMISSING ADVERSARY
  15                  v.                                      COMPLAINT

  16         TOBY EDWARD TORRES,
                                                              Hearing
  17                                      Defendant.          Date: November 16, 2023
                                                              Time: 11:30 a.m.
  18                                                          Place: Courtroom 1639 (via ZoomGov)
                                                                     255 E. Temple St.
  19                                                                 Los Angeles, CA 90012
  20              The court held a hearing at the above time and place on the ³Motion for Order

  21   Dismissing Adversary Complaint for Failure to State a Claim´ (the ³Motion,´ Docket No. 3).

  22   Appearances were noted on the record.

  23   ///

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Case 2:23-ap-01426-DS Doc 12 Filed 11/24/23                          Entered 11/24/23 21:24:02             Desc
                    Imaged Certificate of Notice                     Page 4 of 4


    1          After reviewing and considering the Motion, the statements and arguments made by

    2   counsel at the hearing, and the record in this case, for the reasons stated on the record at the

    3   hearing,

    4          IT IS HEREBY ORDERED as follows:

    5          1.      The Motion is denied. The Defendant must file an answer to the complaint

    6   (Docket No. 1) no later than December 13, 2023.

    7          2.      The status conference currently scheduled for November 30, 2023 at 11:30 a.m. is

    8    rescheduled to February 1, 2024 at 11:30 a.m.

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   24 Date: November 22, 2023

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